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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                                     CASE NO: 2:14-c-135-38CM

LESLIE CHIIN
     ________________________/

                                                ORDER1

        This matter comes before the Court on Defendant Leslie Chin's Motion to Have

the Trial Judge Conduct Sentencing filed on June 7, 2016. (Doc. #200).                         The United

States takes no position as to Defendant's motion. (Doc. #203). Thus, Defendant's

motion is ripe for review.

        On March 1, 2016, a jury found Defendant guilty of conspiracy to possess with the

intent to distribute cocaine. (Doc. #182). The Honorable Paul A. Magnuson, Senior

District Judge for the United States District Court for the District of Minnesota presided

over the trial which was held in Fort Myers, Florida. At that time, Judge Magnuson was

a visiting judge on an inter-circuit assignment in the Middle District of Florida. The

undersigned has set the Defendant's sentencing hearing for June 27, 2016.

        Defendant moves for Judge Magnuson, instead of the undersigned, to hold the

sentencing hearing.         (Doc. #200).       Defendant objects to the amount of drugs the

presentence investigation report attributed to him for the purposes of calculating his base



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offense level.      Because the Government established the drug amounts through co-

conspirator witnesses at trial, Defendant argues that Judge Magnuson must conduct the

sentencing.

        After careful consideration of Defendant's motion, arguments, and applicable law,

the Court denies Defendant's motion. Rule 25 of the Federal Rules of Criminal Procedure

states, in pertinent part, that "[a]fter a verdict or finding of guilty, any judge regularly sitting

in or assigned to a court may complete the court's duties if the judge who presided at trial

cannot perform those duties because of absence, death, sickness, or other disability."2

Fed. R. Crim. P. 25(b)(1).

        Here, Judge Magnuson is absent from this district. His inter-circuit assignment

expired on or about April 30, 2016, and he currently sits in St. Paul, Minnesota.

Furthermore, upon reading the presentence investigation report, trial transcripts, and

hearing live testimony at the sentencing hearing, the Court will be familiarized with the

evidence and legal issues involved in the case and will be able to impose a fair and

appropriate sentence.

        Accordingly, it is now

        ORDERED:

        (1) Defendant Leslie Chin's Motion to Have the Trial Judge Conduct Sentencing

            (Doc. #200) is DENIED.




2 Defendant cites to Rule 25 of the Federal Rules of Criminal Procedure in his instant motion.      (Doc. #200
at 3 n.3). Conspicuously absent from that citation, is a reference to the "absence" component of the rule.
The Court assumes defense counsel made an inadvertent or scrivener's error, and not a patent
misrepresentation to the Court. That said, the Court reminds counsel that, when filing documents in federal
court, he certifies to its accuracy and veracity, and it warns counsel not to expect future indulgence on such
matters.




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      (2) The Government shall be prepared to present the co-conspirator witnesses,

         and any other appropriate witnesses, at the sentencing hearing on June 27,

         2016.

      DONE AND ORDERED at Fort Myers, Florida, this June 23, 2016.




Copies: Counsel of Record




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